                                        Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 1 of 21 Page ID #:1



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                                  8
                                  9                        UNITED STATES DISTRICT COURT
                                 10                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                      DAVID LOAIZA, individually and             CASE NO.:
                                 12   on behalf all others similarly situated,
                                 13
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                                                          Plaintiff,                  CLASS ACTION COMPLAINT
                                 14                                                1. VIOLATIONS OF THE
                                            v.
                                                                                      AMERICANS WITH
                                 15                                                   DISABILITIES ACT OF 1990, 42
                                      PRIMARY COLOR, INC. d/b/a
                                 16   ALCHEMY WORKS, a California                     U.S.C. § 12181
                                      corporation; and DOES 1 to 10,               2. VIOLATIONS OF THE UNRUH
                                 17                                                   CIVIL RIGHTS ACT
                                      inclusive,
                                 18                                                   DEMAND FOR JURY TRIAL
                                                          Defendants.
                                 19
                                 20
                                 21         Plaintiff David Loaiza (“Plaintiff”), individually and on behalf of all others
                                 22   similarly situated, brings this action based upon his personal knowledge as to
                                 23   himself and his own acts, and as to all other matters upon information and belief,
                                 24   based upon, inter alia, the investigations of his attorneys.
                                 25                              NATURE OF THE ACTION
                                 26         1.     Plaintiff is a visually impaired and legally blind person who requires
                                 27   screen reading software to read website content using his computer. Plaintiff uses
                                 28
                                                                    1
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                        Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 2 of 21 Page ID #:2



                                  1   the terms “blind” or “visually impaired” to refer to all people with visual
                                  2   impairments who meet the legal definition of blindness in that they have a visual
                                  3   acuity with correction of less than or equal to 20 x 200. Some blind people who
                                  4   meet this definition have limited vision. Others have no vision.
                                  5         2.     Plaintiff, individually and on behalf of those similarly situated persons
                                  6   (hereafter “Class Members”), brings this Class Action to secure redress against
                                  7   Primary Color, Inc. d/b/a Alchemy Works (hereafter “Defendant”), and DOES 1-
                                  8   10, for its failure to design, construct, maintain, and operate its website to be fully
                                  9   and equally accessible to and independently usable by Plaintiff and other blind or
                                 10   visually impaired people. Defendant’s denial of full and equal access to its website,
                                 11   and therefore denial of its products and services offered thereby and in conjunction
                                 12   with its physical locations, is a violation of Plaintiff’s rights under the Americans
                                 13   with Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).
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                                 14         3.     Because Defendant’s website, https://www.alchemyworks.us/ the
                                 15   (“Website” or “Defendant’s website”), is not fully or equally accessible to blind and
                                 16   visually impaired consumers in violation of the ADA, Plaintiff seeks a permanent
                                 17   injunction to cause a change in Defendant’s corporate policies, practices, and
                                 18   procedures so that Defendant’s website will become and remain accessible to blind
                                 19   and visually impaired consumers.
                                 20                                     THE PARTIES
                                 21         4.     Plaintiff, at all times relevant and as alleged herein, is a resident of
                                 22   California, County of Los Angeles. Plaintiff is a legally blind, visually impaired,
                                 23   handicapped person, and a member of a protected class of individuals under the
                                 24   ADA, pursuant to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the
                                 25   ADA set forth at 28 CFR §§ 36.101 et seq.
                                 26         5.     Defendant Primary Color, Inc. d/b/a Alchemy Works is a California
                                 27   corporation, with its headquarters in Los Angeles, California. Defendant’s servers
                                 28   for the website are in the United States. Defendant conducts a large amount of its
                                                                                2
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                        Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 3 of 21 Page ID #:3



                                  1   business in California.       Defendant’s stores constitute places of public
                                  2   accommodation. Defendant’s retail stores provide to the public important goods
                                  3   and services. Defendant’s website provides consumers access a coastal California
                                  4   retail, gallery, and event space concept.      Consumers can additionally access
                                  5   information regarding jewelry, clothing, accessories, and vintage goods. Further,
                                  6   consumers can find information about store locations, hours of operation, contact
                                  7   information, shipping, about Defendant, personalized accounts, press coverage,
                                  8   gifts, customer service, and social media webpages.
                                  9         6.     Plaintiff is unaware of the true names, identities, and capacities of the
                                 10   Defendants sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                 11   complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                 12   ascertained. Plaintiff is informed and believes, and thereupon alleges, that each of
                                 13   the Defendants sued herein as a DOE is legally responsible in some manner for the
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                                 14   events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 15   proximately caused injuries and damages to Plaintiff as set forth below.
                                 16         7.     Defendant’s stores are a public accommodation within the definition
                                 17   of Title III of the ADA, 42 U.S.C. § 12181(7).
                                 18         8.     The website https://www.alchemyworks.us/, is a service, privilege, or
                                 19   advantage of Defendant’s services, products, and locations.
                                 20                            JURISDICTION AND VENUE
                                 21         9.     This Court has subject matter jurisdiction over the state law claims
                                 22   alleged in Complaint pursuant to the Class Action Fairness Act, 28 U.S.C. §
                                 23   1332(d)(2)(A) because: (a) the matter in controversy exceeds the sum of $5 million,
                                 24   exclusive of interest and costs; and (b) some of the class members are citizens of a
                                 25   state (California).
                                 26         10.    Defendant is subject to personal jurisdiction in this District. Defendant
                                 27   has been and is committing the acts or omissions alleged herein in the Central
                                 28   District of California that caused injury, and violated rights prescribed by the ADA
                                                                                 3
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                        Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 4 of 21 Page ID #:4



                                  1   and UCRA, to Plaintiff and to other blind and other visually impaired consumers.
                                  2   A substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred
                                  3   in the Central District of California. Specifically, on several separate occasions,
                                  4   Plaintiff has been denied the full use and enjoyment of the facilities, goods, and
                                  5   services of Defendant’s website in Los Angeles County. The access barriers
                                  6   Plaintiff has encountered on Defendant’s website have caused a denial of Plaintiff’s
                                  7   full and equal access multiple times in the past, and now deter Plaintiff on a regular
                                  8   basis from accessing Defendant’s website. Similarly, the access barriers Plaintiff
                                  9   has encountered on Defendant’s website have impeded Plaintiff’s full and equal
                                 10   enjoyment of goods and services offered at Defendant’s brick-and-mortar stores.
                                 11         11.    This Court also has subject matter jurisdiction over this action pursuant
                                 12   to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title
                                 13   III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.
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                                 14         12.    This Court has personal jurisdiction over Defendant because it
                                 15   conducts and continues to conduct a substantial and significant amount of business
                                 16   in the State of California, Los Angeles County, and because Defendant’s offending
                                 17   website is available across California.
                                 18         13.    Venue is proper in the Central District of California pursuant to 28
                                 19   U.S.C. § 1391 because Plaintiff resides in this District, Defendant conducts and
                                 20   continues to conduct a substantial and significant amount of business in this District,
                                 21   Defendant is subject to personal jurisdiction in this District, and a substantial
                                 22   portion of the conduct complained of herein occurred in this District.
                                 23     THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 24         14.    The Internet has become a significant source of information, a portal,
                                 25   and a tool for conducting business, doing everyday activities such as shopping,
                                 26   learning, banking, researching, as well as many other activities for sighted, blind
                                 27   and visually impaired persons alike.
                                 28
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                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                        Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 5 of 21 Page ID #:5



                                  1         15.    In today's tech-savvy world, blind and visually impaired people have
                                  2   the ability to access websites using keyboards in conjunction with screen access
                                  3   software that vocalizes the visual information found on a computer screen. This
                                  4   technology is known as screen reading software. Screen reading software is
                                  5   currently the only method a blind or visually impaired person may use to
                                  6   independently access the internet. Unless websites are designed to be read by
                                  7   screen reading software, blind and visually impaired persons are unable to fully
                                  8   access websites, and the information, products, and services contained thereon.
                                  9         16.    Blind and visually impaired users of Windows operating system-
                                 10   enabled computers and devices have several screen reading software programs
                                 11   available to them. Some of these programs are available for purchase and other
                                 12   programs are available without the user having to purchase the program separately.
                                 13   Job Access With Speech, otherwise known as “JAWS,” is currently the most
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                                 14   popular, separately purchased and downloaded screen reading software program
                                 15   available for a Windows computer.
                                 16         17.    For screen reading software to function, the information on a website
                                 17   must be capable of being rendered into text. If the website content is not capable
                                 18   of being rendered into text, the blind or visually impaired user is unable to access
                                 19   the same content available to sighted users.
                                 20         18.    The international website standards organization, the World Wide
                                 21   Web Consortium, known throughout the world as W3C, has published Success
                                 22   Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 23   hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                 24   accessible to blind and visually impaired people. These guidelines are adopted,
                                 25   implemented, and followed by most large business entities who want to ensure their
                                 26   websites are accessible to users of screen reading software programs. Though
                                 27   WCAG 2.1 has not been formally adopted as the standard for making websites
                                 28
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                                           CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                        Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 6 of 21 Page ID #:6



                                  1   accessible, it is one of, if not the most, valuable resource for companies to operate,
                                  2   maintain, and provide a website that is accessible under the ADA to the public.
                                  3         19.    Within this context, the Ninth Circuit has recognized the viability of
                                  4   ADA claims against commercial website owners/operators with regard to the
                                  5   accessibility of such websites. Robles v. Domino’s Pizza, LLC, Docket No. 17-
                                  6   55504 (9th Cir. Apr 13, 2017), Court Docket No. BL-66. This is in addition to the
                                  7   numerous courts that have already recognized such application.
                                  8         20.    Each of Defendant’s violations of the Americans with Disabilities Act
                                  9   is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                 10   Act provides that any violation of the ADA constitutes a violation of the Unruh
                                 11   Civil Rights Act. Cal. Civ. Code, § 51(f).
                                 12         21.    Further, Defendant’s actions and inactions denied Plaintiff full and
                                 13   equal access to their goods, facilities, and services. A substantial motivating reason
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                                 14   for Defendant to deny Plaintiff access was the perception of Plaintiff’s disability.
                                 15   Defendant’s denial of Plaintiff’s accessibility was a substantial motivating reason
                                 16   for Defendant’s conduct.       Plaintiff was harmed due to Defendant’s conduct.
                                 17   Defendant’s actions and inactions were a substantial factor in causing the lack of
                                 18   access to Plaintiff. Unruh Civil Rights Act. Cal. Civ. Code, § 51.
                                 19         22.    Inaccessible or otherwise non-compliant websites pose significant
                                 20   access barriers to blind and visually impaired persons.           Common barriers
                                 21   encountered by blind and visually impaired persons include, but are not limited to,
                                 22   the following:
                                 23                a. A text equivalent for every non-text element is not provided;
                                 24                b. Title frames with text are not provided for identification and
                                 25                    navigation;
                                 26                c. Equivalent text is not provided when using scripts;
                                 27                d. Forms with the same information and functionality as for sighted
                                 28                persons are not provided;
                                                                           6
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 7 of 21 Page ID #:7



                                  1            e. Information about the meaning and structure of content is not
                                  2               conveyed by more than the visual presentation of content;
                                  3            f. Text cannot be resized without assistive technology up to 200
                                  4               percent without loss of content or functionality;
                                  5            g. If the content enforces a time limit, the user is not able to extend,
                                  6               adjust or disable it;
                                  7            h. Web pages do not have titles that describe the topic or purpose;
                                  8            i. The purpose of each link cannot be determined from the link text
                                  9               alone or from the link text and its programmatically determined link
                                 10               context;
                                 11            j. One or more keyboard operable user interface lacks a mode of
                                 12               operation where the keyboard focus indicator is discernible;
                                 13            k. The default human language of each web page cannot be
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                                 14               programmatically determined;
                                 15            l. When a component receives focus, it may initiate a change in
                                 16               context;
                                 17            m. Changing the setting of a user interface component may
                                 18               automatically cause a change of context where the user has not been
                                 19               advised before using the component;
                                 20            n. Labels or instructions are not provided when content requires user
                                 21               input;
                                 22            o. In content which is implemented by using markup languages,
                                 23               elements do not have complete start and end tags, elements are not
                                 24               nested according to their specifications, elements may contain
                                 25               duplicate attributes and/or any IDs are not unique;
                                 26            p. Inaccessible Portable Document Format (PDFs); and
                                 27            q. The name and role of all User Interface elements cannot be
                                 28            programmatically determined; items that can be set by the user
                                                                     7
                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                        Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 8 of 21 Page ID #:8



                                  1                    cannot be programmatically set; and/or notification of changes to
                                  2                    these items are not available to user agents, including assistive
                                  3                    technology.
                                  4                              FACTUAL BACKGROUND
                                  5         23.    Defendant offers the https://www.alchemyworks.us/ website to the
                                  6   public. The website offers features which should allow all consumers to access the
                                  7   goods and services which Defendant offers in connection with its physical
                                  8   locations. The goods and services offered by Defendant include but are not limited
                                  9   to the following: jewelry such as rings, bracelets, necklaces, and earrings; clothing
                                 10   such as shoes, slippers, dresses, sweaters, and shirts; accessories such as hats, belts,
                                 11   bags, scarves, and shoulder straps; and vintage goods such as prints, wine racks,
                                 12   planters, trays, sculptures, vases, and drawings. Consumers can further access
                                 13   information regarding store locations, hours of operation, contact information, press
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                                 14   coverage, shipping, returns, personalized accounts, gifts, social media webpages,
                                 15   returns, and about Defendant.
                                 16         24.    Based on information and belief, it is Defendant’s policy and practice
                                 17   to deny Plaintiff and Class Members, along with other blind or visually impaired
                                 18   users, access to Defendant’s website, and to therefore, specifically deny the goods
                                 19   and services that are offered and integrated within Defendant’s stores. Due to
                                 20   Defendant’s failure and refusal to remove access barriers on its website, Plaintiff
                                 21   and other visually impaired persons have been and are still being denied equal and
                                 22   full access to Defendant’s stores, products, and services offered to the public
                                 23   through Defendant’s Website.
                                 24   DEFENDANT’S BARRIERS ON UNRUH CIVIL RIGHTS ACT. CAL. CIV.
                                 25      CODE, § 51(f) DENY PLAINTIFF AND CLASS MEMBERS ACCESS
                                 26         25.    Plaintiff is a visually impaired and legally blind person, who cannot
                                 27   use a computer without the assistance of screen reading software. However,
                                 28   Plaintiff is a proficient user of the JAWS or NV Access screen-reader(s) as well as
                                                                                8
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                        Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 9 of 21 Page ID #:9



                                  1   Mac’s VoiceOver and uses it to access the internet.            Plaintiff has visited
                                  2   https://www.alchemyworks.us/ on several separate occasions using the JAWS
                                  3   and/or VoiceOver screen-readers.
                                  4         26.    During Plaintiff’s numerous visits to Defendant’s website, Plaintiff
                                  5   encountered multiple access barriers which denied Plaintiff full and equal access to
                                  6   the facilities, goods, and services offered to the public and made available to the
                                  7   public on Defendant’s website. Due to the widespread access barriers Plaintiff and
                                  8   Class Members encountered on Defendant’s website, Plaintiff and Class Members
                                  9   have been deterred, on a regular basis, from accessing Defendant’s website.
                                 10   Similarly, the access barriers Plaintiff has encountered on Defendant’s website have
                                 11   deterred Plaintiff and Class Members from visiting Defendant’s brick-and-mortar
                                 12   stores.
                                 13         27.    While attempting to navigate Defendant’s website, Plaintiff and Class
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                                 14   Members encountered multiple accessibility barriers for blind or visually impaired
                                 15   people that include, but are not limited to, the following:
                                 16                a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
                                 17                   is invisible code embedded beneath a graphic or image on a website
                                 18                   that is read to a user by a screen-reader. For graphics or images to
                                 19                   be fully accessible for screen-reader users, it requires that alt-text
                                 20                   be coded with each graphic or image so that screen reading software
                                 21                   can speak the alt-text to describe the graphic or image where a
                                 22                   sighted user would just see the graphic or image. Alt-text does not
                                 23                   change the visual presentation, but instead a text box shows when
                                 24                   the cursor hovers over the graphic or image. The lack of alt-text on
                                 25                   graphics and images prevents screen-readers from accurately
                                 26                   vocalizing a description of the image or graphic. As a result,
                                 27                   Plaintiff and Class Members who are blind and visually impaired
                                 28                customers are unable to shop and access a coastal California retail,
                                                                           9
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                       Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 10 of 21 Page ID #:10



                                  1                   gallery, and event space concept. Consumers are additionally
                                  2                   unable to access information regarding jewelry, clothing,
                                  3                   accessories, vintage goods, store locations, hours of operation,
                                  4                   contact information, shipping, about Defendant, personalized
                                  5                   accounts, press coverage, gifts, customer service, social media
                                  6                   webpages, or complete any purchases;
                                  7               b. Empty Links that contain No Text causing the function or purpose
                                  8                   of the link to not be presented to the user. This can introduce
                                  9                   confusion for keyboard and screen-reader users;
                                 10               c. Redundant Links where adjacent links go to the same URL address
                                 11                   which results in additional navigation and repetition for keyboard
                                 12                   and screen-reader users; and
                                 13               d. Linked Images missing alt-text, which causes problems if an image
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                                 14                   within a link does not contain any descriptive text and that image
                                 15                   does not have alt-text. A screen reader then has no content to
                                 16                   present the user as to the function of the link, including information
                                 17                   or links for and contained in PDFs.
                                 18         28.   Recently in 2021, Plaintiff attempted to do business with Defendant
                                 19   on Defendant’s website and Plaintiff encountered barriers to access on Defendant’s
                                 20   website.
                                 21         29.   Despite past and recent attempts to do business with Defendant on its
                                 22   website, the numerous access barriers contained on the website and encountered by
                                 23   Plaintiff, have denied Plaintiff full and equal access to Defendant’s website.
                                 24   Plaintiff and Class Members, as a result of the barriers on Defendant’s website,
                                 25   continue to be deterred on a regular basis from accessing Defendant’s website.
                                 26   Likewise, based on the numerous access barriers Plaintiff and Class Members have
                                 27   been deterred and impeded from the full and equal enjoyment of goods and services
                                 28   offered in Defendant’s stores and from making purchases at such physical locations.
                                                                              10
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                       Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 11 of 21 Page ID #:11



                                  1         DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
                                  2         30.    Due to the inaccessibility of the Defendant’s website, blind and
                                  3   visually impaired customers such as Plaintiff, who need a screen-reader, cannot
                                  4   fully and equally use, or enjoy the facilities and services Defendant offers to the
                                  5   public on its website. The access barriers Plaintiff encountered have caused a denial
                                  6   of Plaintiff’s full and equal access in the past, and now deter Plaintiff on a regular
                                  7   basis from accessing the website.
                                  8         31.    These access barriers on the Defendant’s website have deterred the
                                  9   Plaintiff from visiting Defendant’s physical locations and enjoying them equal to
                                 10   sighted individuals because: Plaintiff was unable to find the locations and hours of
                                 11   operation of Defendant’s stores on its website, preventing Plaintiff from visiting the
                                 12   locations to view and purchase products and/or services. Plaintiff and Class
                                 13   Members intend to visit Defendant’s locations in the near future if Plaintiff and
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                                 14   Class Members could access Defendant’s website.
                                 15         32.    If the website were equally accessible to all, Plaintiff and Class
                                 16   Members could independently navigate the website and complete a desired
                                 17   transaction, as sighted individuals do.
                                 18         33.    Plaintiff, through Plaintiff’s attempts to use the website, has actual
                                 19   knowledge of the access barriers that make these services inaccessible and
                                 20   independently unusable by blind and visually impaired people.
                                 21         34.    Because simple compliance with WCAG 2.1 would provide Plaintiff
                                 22   and Class Members who are visually impaired consumers with equal access to the
                                 23   website, Plaintiff and Class Members allege that Defendant engaged in acts of
                                 24   intentional discrimination, including, but not limited to, the following policies or
                                 25   practices: constructing and maintaining a website that is inaccessible to visually
                                 26   impaired individuals, including Plaintiff and Class Members; failing to construct
                                 27   and maintain a website that is sufficiently intuitive so as to be equally accessible to
                                 28   visually impaired individuals, including Plaintiff and Class Members; and failing to
                                                                               11
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                       Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 12 of 21 Page ID #:12



                                  1   take actions to correct these access barriers in the face of substantial harm and
                                  2   discrimination to blind and visually impaired consumers, such as Plaintiff and Class
                                  3   Members, as a member of a protected class.
                                  4         35.    The Defendant uses standards, criteria, or methods of administration
                                  5   that have the effect of discriminating or perpetuating the discrimination against
                                  6   others, as alleged herein.
                                  7         36.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                  8   seeks in this action. In relevant part, the ADA requires:
                                  9                In the case of violations of … this title, injunctive relief shall
                                                   include an order to alter facilities to make such facilities readily
                                 10
                                                   accessible to and usable by individuals with disabilities ….
                                 11                Where appropriate, injunctive relief shall also include requiring
                                                   the … modification of a policy …. 42 U.S.C. § 12188(a)(2).
                                 12
                                 13         37.    Because Defendant’s website has never been equally accessible, and
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                                 14   because Defendant lacks a corporate policy that is reasonably calculated to cause
                                 15   the Defendant’s website to become and remain accessible, Plaintiff invokes 42
                                 16   U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring Defendant to
                                 17   retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                 18   with WCAG 2.1 guidelines for Defendant’s website.              The website must be
                                 19   accessible for individuals with disabilities who use desktop computers, laptops,
                                 20   tablets, and smartphones. Plaintiff and Class Members seek that this permanent
                                 21   injunction require Defendant to cooperate with the agreed-upon consultant to: train
                                 22   Defendant’s employees and agents who develop the website on accessibility
                                 23   compliance under the WCAG 2.1 guidelines; regularly check the accessibility of
                                 24   the website under the WCAG 2.1 guidelines; regularly test user accessibility by
                                 25   blind or vision-impaired persons to ensure that the Defendant’s website complies
                                 26   under the WCAG 2.1 guidelines; and develop an accessibility policy that is clearly
                                 27   disclosed on the Defendant’s website, with contact information for users to report
                                 28   accessibility-related problems and require that any third-party vendors who
                                                                   12
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                       Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 13 of 21 Page ID #:13



                                  1   participate on the Defendant’s website to be fully accessible to the disabled by
                                  2   conforming with WCAG 2.1.
                                  3         38.    If Defendant’s website were accessible, Plaintiff and Class Members
                                  4   could independently access information about the address and hours of store
                                  5   locations, services offered, and goods available for online purchase.
                                  6         39.    Although Defendant may currently have centralized policies regarding
                                  7   maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                  8   reasonably calculated to make Defendant’s website fully and equally accessible to,
                                  9   and independently usable by, blind and other visually impaired consumers.
                                 10         40.    Defendant has, upon information and belief, invested substantial sums
                                 11   in developing and maintaining Defendant’s website, and Defendant has generated
                                 12   significant revenue from Defendant’s website. These amounts are far greater than
                                 13   the associated cost of making Defendant’s website equally accessible to visually
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                                 14   impaired customers. Plaintiff has also visited prior iterations of the Defendant’s
                                 15   website, https://www.alchemyworks.us/, and also encountered such barriers.
                                 16         41.    Without injunctive relief, Plaintiff and Class Members will continue to
                                 17   be unable to independently use Defendant’s website, violating their rights.
                                 18                          CLASS ACTION ALLEGATIONS
                                 19         42.    Plaintiff, on behalf of himself and all others similarly situated, seeks
                                 20   to certify a Nationwide Class under Fed. R. Civ. P. 23(a) and 23(b)(2), the
                                 21   Nationwide Class is initially defined as follows:
                                 22                all legally blind individuals who have attempted to access
                                                   Defendant’s website by the use of a screen reading software
                                 23
                                                   during the applicable limitations period up to and including final
                                 24                judgment in this action.
                                 25         43.    The California Class is initially defined as follows:
                                 26            all legally blind individuals in the State of California who have
                                               attempted to access Defendant’s website by the use of a screen
                                 27            reading software during the applicable limitations period up to
                                 28            and including final judgment in this action.
                                                                            13
                                           CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                       Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 14 of 21 Page ID #:14



                                  1         44.    Excluded from each of the above Classes is Defendant, including any
                                  2   entity in which Defendant has a controlling interest, is a parent or subsidiary, or
                                  3   which is controlled by Defendant, as well as the officers, directors, affiliates, legal
                                  4   representatives, heirs, predecessors, successors, and assigns of Defendant. Also
                                  5   excluded are the judge and court personnel in this case and any members of their
                                  6   immediate families. Plaintiff reserves the right to amend the Class definitions if
                                  7   discovery and further investigation reveal that the Classes should be expanded or
                                  8   otherwise modified.
                                  9         45.    Numerosity: Fed. R. Civ. P. 23(a)(1). This action has been brought
                                 10   and may properly be maintained as a class action against Defendant under Rules
                                 11   23(b)(1)(B) and 23(b)(3) of the Federal Rules of Civil Procedure. While the exact
                                 12   number and identities of other Class Members are unknown to Plaintiff at this time,
                                 13   Plaintiff is informed and believes that there are hundreds of thousands of Members
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                                 14   in the Class. Based on the number of customers who have visited Defendant’s
                                 15   California store, it is estimated that the Class is composed of more than 10,000
                                 16   persons. Furthermore, even if subclasses need to be created for these consumers,
                                 17   it is estimated that each subclass would have thousands of Members. The Members
                                 18   of the Class are so numerous that joinder of all Members is impracticable and the
                                 19   disposition of their claims in a class action rather than in individual actions will
                                 20   benefit the parties and the courts.
                                 21         46.    Typicality: Plaintiff’s and Class Members’ claims are typical of the
                                 22   claims of the Members of the Class as all Members of the Class are similarly
                                 23   affected by Defendant’s wrongful conduct, as detailed herein.
                                 24         47.    Adequacy: Plaintiff will fairly and adequately protect the interests of
                                 25   the Members of the Class in that they have no interests antagonistic to those of the
                                 26   other Members of the Class. Plaintiff has retained experienced and competent
                                 27   counsel.
                                 28         48. Superiority: A class action is superior to other available methods for
                                                                           14
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                       Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 15 of 21 Page ID #:15



                                  1   the fair and efficient adjudication of this controversy. Since the damages sustained
                                  2   by individual Class Members may be relatively small, the expense and burden of
                                  3   individual litigation makes it impracticable for the Members of the Class to
                                  4   individually seek redress for the wrongful conduct alleged herein. Furthermore, the
                                  5   adjudication of this controversy through a class action will avoid the potentially
                                  6   inconsistent and conflicting adjudications of the claims asserted herein. There will
                                  7   be no difficulty in the management of this action as a class action. If Class treatment
                                  8   of these claims were not available, Defendant would likely unfairly receive
                                  9   thousands of dollars or more in improper revenue.
                                 10         49.    Common Questions Predominate: Common questions of law and fact
                                 11   exist as to all Members of the Class and predominate over any questions solely
                                 12   affecting individual Members of the Class. Among the common questions of law
                                 13   and fact applicable to the Class are:
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                                 14                    i. Whether Defendant’s website, https://www.alchemyworks.us/,
                                 15                       is inaccessible to the visually impaired who use screen reading
                                 16                       software to access internet websites;
                                 17                   ii. Whether Plaintiff and Class Members have been unable to
                                 18                       access https://www.alchemyworks.us/ through the use of screen
                                 19                       reading software;
                                 20                  iii. Whether the deficiencies in Defendant’s website violate the
                                 21                       Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et
                                 22                       seq.;
                                 23                  iv. Whether the deficiencies in Defendant’s website violate the
                                 24                       California Unruh Civil Rights Act, California Civil Code § 51
                                 25                       et seq.;
                                 26                   v. Whether, and to what extent, injunctive relief should be imposed
                                 27                       on Defendant to make https://www.alchemyworks.us/ readily
                                 28                  accessible to and usable by visually impaired individuals;
                                                                          15
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                        Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 16 of 21 Page ID #:16



                                  1                  vi. Whether Plaintiff and Class Members are entitled to recover
                                  2                       statutory damages with respect to Defendant’s wrongful
                                  3                       conduct; and
                                  4                  vii. Whether further legal and/or equitable relief should be granted
                                  5                       by the Court in this action.
                                  6         50.    The class is readily definable, and prosecution of this action as a Class
                                  7   action will reduce the possibility of repetitious litigation. Plaintiff knows of no
                                  8   difficulty which will be encountered in the management of this litigation which
                                  9   would preclude their maintenance of this matter as a Class action.
                                 10         51.    The prerequisites to maintaining a class action for injunctive relief or
                                 11   equitable relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused
                                 12   to act on grounds generally applicable to the Class, thereby making appropriate final
                                 13   injunctive or equitable relief with respect to the Class as a whole.
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                                 14         52.    The prerequisites to maintaining a class action for injunctive relief or
                                 15   equitable relief pursuant to Rule 23(b)(3) are met, as questions of law or fact
                                 16   common to the Class predominate over any questions affecting only individual
                                 17   Members; and a class action is superior to other available methods for fairly and
                                 18   efficiently adjudicating the controversy.
                                 19         53.    The prosecution of separate actions by Members of the Class would
                                 20   create a risk of establishing inconsistent rulings and/or incompatible standards of
                                 21   conduct for Defendant. Additionally, individual actions may be dispositive of the
                                 22   interests of all Members of the Class, although certain Class Members are not
                                 23   parties to such actions.
                                 24         54.    Defendant’s conduct is generally applicable to the Class as a whole
                                 25   and Plaintiff seeks, inter alia, equitable remedies with respect to the Class as a
                                 26   whole. As such, Defendant’s systematic policies and practices make declaratory
                                 27   relief with respect to the Class as a whole appropriate.
                                 28   ///
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                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                       Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 17 of 21 Page ID #:17



                                  1                                        COUNT I
                                  2      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                  3                                U.S.C. § 12181 ET SEQ.
                                  4         (On Behalf of Plaintiff, the Nationwide Class, and the California Class)
                                  5         55.    Plaintiff alleges and incorporates herein by reference each and every
                                  6   allegation contained in paragraphs 1 through 54, inclusive, of this Complaint as if
                                  7   set forth fully herein.
                                  8         56.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                  9   provides: “No individual shall be discriminated against on the basis of disability in
                                 10   the full and equal enjoyment of the goods, services, facilities, privileges,
                                 11   advantages, or accommodations of any place of public accommodation by any
                                 12   person who owns, leases (or leases to), or operates a place of public
                                 13   accommodation.” 42 U.S.C. § 12182(a).
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                                 14         57.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                 15   discrimination also includes, among other things: “a failure to make reasonable
                                 16   modifications in policies, practices, or procedures, when such modifications are
                                 17   necessary to afford such goods, services, facilities, privileges, advantages, or
                                 18   accommodations to individuals with disabilities, unless the entity can demonstrate
                                 19   that making such modifications would fundamentally alter the nature of such goods,
                                 20   services, facilities, privileges, advantages or accommodations;” and “a failure to
                                 21   take such steps as may be necessary to ensure that no individual with a disability is
                                 22   excluded, denied services, segregated or otherwise treated differently than other
                                 23   individuals because of the absence of auxiliary aids and services, unless the entity
                                 24   can demonstrate that taking such steps would fundamentally alter the nature of the
                                 25   good, service, facility, privilege, advantage, or accommodation being offered or
                                 26   would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                 27   accommodation shall take those steps that may be necessary to ensure that no
                                 28   individual with a disability is excluded, denied services, segregated or otherwise
                                                                              17
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                       Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 18 of 21 Page ID #:18



                                  1   treated differently than other individuals because of the absence of auxiliary aids
                                  2   and services, unless the public accommodation can demonstrate that taking those
                                  3   steps would fundamentally alter the nature of the goods, services, facilities,
                                  4   privileges, advantages, or accommodations being offered or would result in an
                                  5   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
                                  6   order to be effective, auxiliary aids and services must be provided in accessible
                                  7   formats, in a timely manner, and in such a way as to protect the privacy and
                                  8   independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                  9         58.    Defendant’s store locations are a “public accommodation” within the
                                 10   meaning of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in
                                 11   revenue from the sale of its amenities and services, privileges, advantages, and
                                 12   accommodations in California through its locations and related services, privileges,
                                 13   advantages, and accommodations, and its Website, https://www.alchemyworks.us/,
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                                 14   is a service, privilege, advantage, and accommodation provided by Defendant that
                                 15   is inaccessible to customers who are visually impaired like Plaintiff.          This
                                 16   inaccessibility denies visually impaired customers full and equal enjoyment of and
                                 17   access to the facilities and services, privileges, advantages, and accommodations
                                 18   that Defendant made available to the non-disabled public. Defendant is violating
                                 19   the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., in that Defendant
                                 20   denies visually impaired customers the services, privileges, advantages, and
                                 21   accommodations provided by https://www.alchemyworks.us/. These violations are
                                 22   ongoing.
                                 23         59.    Defendant’s actions constitute intentional discrimination against
                                 24   Plaintiff and Class Members on the basis of a disability in violation of the
                                 25   Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. in that: Defendant has
                                 26   constructed a website that is inaccessible to Plaintiff and Class Members; maintains
                                 27   the website in this inaccessible form; and has failed to take adequate actions to
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                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                       Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 19 of 21 Page ID #:19



                                  1   correct these barriers even after being notified of the discrimination that such
                                  2   barriers cause.
                                  3         60.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                  4   set forth and incorporated therein, Plaintiff requests relief as set forth below.
                                  5                                        COUNT II
                                  6     VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                  7                              CIVIL CODE § 51 ET SEQ.
                                  8                     (On Behalf of Plaintiff and the California Class)
                                  9         61.    Plaintiff alleges and incorporates herein by reference each and every
                                 10   allegation contained in paragraphs 1 through 60, inclusive, of this Complaint as if
                                 11   set forth fully herein.
                                 12         62.    Defendant’s locations are a “business establishment” within the
                                 13   meaning of the California Civil Code § 51 et seq. Defendant generates millions of
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                                 14   dollars in revenue from the sale of its services in California through its store
                                 15   locations and related services, and https://www.alchemyworks.us/ is a service
                                 16   provided by Defendant that is inaccessible to customers who are visually impaired
                                 17   like Plaintiff and Class Members. This inaccessibility denies visually impaired
                                 18   customers full and equal access to Defendant’s facilities and services that Defendant
                                 19   makes available to the non-disabled public. Defendant is violating the Unruh Civil
                                 20   Rights Act, California Civil Code § 51 et seq., in that Defendant is denying visually
                                 21   impaired customers the services provided by https://www.alchemyworks.us/.
                                 22   These violations are ongoing.
                                 23         63.    Defendant’s actions constitute intentional discrimination against
                                 24   Plaintiff and Class Members on the basis of a disability in violation of the Unruh
                                 25   Civil Rights Act, Cal. Civil Code § 51 et seq. in that: Defendant has constructed a
                                 26   website that is inaccessible to Plaintiff and Class Members; maintains the website
                                 27   in this inaccessible form; and has failed to take adequate actions to correct these
                                 28   barriers even after being notified of the discrimination that such barriers cause.
                                                                                19
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                       Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 20 of 21 Page ID #:20



                                  1         64.    Defendant is also violating the Unruh Civil Rights Act, California
                                  2   Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                  3   violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                  4   of the California Civil Code provides that a violation of the right of any individual
                                  5   under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                  6         65.    The actions of Defendant were and are in violation of the Unruh Civil
                                  7   Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff and Class
                                  8   Members are entitled to injunctive relief remedying the discrimination.
                                  9         66.    Plaintiff and Class Members are also entitled to statutory minimum
                                 10   damages pursuant to California Civil Code § 52 for each and every offense.
                                 11         67.    Plaintiff and Class Members are also entitled to reasonable attorneys’
                                 12   fees and costs.
                                 13         68.    Plaintiff and Class Members are also entitled to a preliminary and
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                                 14   permanent injunction enjoining Defendant from violating the Unruh Civil Rights
                                 15   Act, California Civil Code § 51 et seq., and requiring Defendant to take the steps
                                 16   necessary to make https://www.alchemyworks.us/ readily accessible to and usable
                                 17   by visually impaired individuals.
                                 18                                PRAYER FOR RELIEF
                                 19         WHEREFORE, Plaintiff, individually and on behalf of all Class Members,
                                 20   respectfully requests that the Court enter judgment in his favor and against
                                 21   Defendant as follows:
                                 22         A.     For an Order certifying the Nationwide Class and California Class as
                                 23                defined herein and appointing Plaintiff and his Counsel to represent
                                 24                the Nationwide Class and the California Class;
                                 25         B.     A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                 26                12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                 27                enjoining Defendant from violating the Unruh Civil Rights Act and
                                 28             ADA and requiring Defendant to take the steps necessary to make
                                                                       20
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                       Case 2:21-cv-00874 Document 1 Filed 01/29/21 Page 21 of 21 Page ID #:21



                                  1                https://www.alchemyworks.us/ readily accessible to and usable by
                                  2                visually impaired individuals;
                                  3         C.     An award of statutory minimum damages of $4,000 per offense per
                                  4                person pursuant to section 52(a) of the California Civil Code;
                                  5         D.     For attorneys’ fees and expenses pursuant to California Civil Code
                                  6                §§ 52(a), 52.1(h), and 42 U.S.C. § 12205;
                                  7         E.     For pre-judgment interest to the extent permitted by law;
                                  8         F.     For costs of suit; and
                                  9         G.     For such other and further relief as the Court deems just and proper.
                                 10                             DEMAND FOR JURY TRIAL
                                 11         Plaintiff, on behalf of himself and all others similarly situated, hereby
                                 12   demands a jury trial for all claims so triable.
                                 13
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                                 14
                                 15   Dated: January 29, 2021                           Respectfully Submitted,

                                 16
                                 17                                                     /s/ Thiago M. Coelho
                                                                                        Thiago M. Coelho, Esq.
                                 18                                                     WILSHIRE LAW FIRM
                                 19                                                     Attorney for Plaintiff and
                                                                                        Proposed Class
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                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
